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                              IN THE UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF MARYLAND

                Kimberly Kubas                                    *
                       Plaintiff
                                                                  *
                         v.                                                 Case No. MJM-20-2456
                                                                  *
                  331B, LLC
                        Defendant                           ******

                                              ORDER OF JUDGMENT

       The jury having returned a verdict in favor of Plaintiff Kimberly Kubas against
Defendant 331B, LLC, it is this 6th day of September 2023,
       ORDERED,
       1.        That Judgment is entered in favor of Plaintiff against Defendant;
       2.        That Plaintiff is awarded $4,940.00 for compensatory damages;
       3.        Any and all prior rulings made by the Court disposing of any claims against
                 any parties are incorporated by reference herein, and this Order shall be
                 deemed to be a final judgment within the meaning of Fed. R. Civ. P. 58.

                                                                               /S/
                                                                      Matthew J. Maddox
                                                                      United States Magistrate Judge




       Order of Judgment (in favor of Defendant) (Rev. 12/2000)
